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 7                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
 8                                         AT SEATTLE
 9    UNITED STATES OF AMERICA,
10                  Plaintiff,
11                                                        Case No. CR04-093L
             v.
12
                                                          ORDER DENYING MOTION FOR
      MARTIN MEDINA,                                      IMMEDIATE RELEASE FROM
13                                                        CUSTODY
                    Defendant.
14

15
           This matter comes before the Court on defendant’s "Motion for Immediate Release from
16
     Custody for Lack of Jurisdiction" (Dkt. # 184). Defendant is mistaken when he claims that there
17
     are no federal charges pending against him. Although Counts 1 through 4 of the superseding
18
     indictment were dismissed, Counts 5 through 7, alleging assault in a federal prison and witness
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     tampering, were never dismissed and remain in force. Since this Court continues to have
20
     jurisdiction over defendant, his motion is DENIED.
21

22
           DATED this 22nd day of April, 2005.
23

24

25                                                   A
                                                     Robert S. Lasnik
26                                                   United States District Judge
27
     ORDER DENYING MOTION FOR
28   IMMEDIATE RELEASE FROM CUSTODY - 1
